
PER CURIAM.
This appeal questions the correctness of the granting of the defendants’ motion for a directed verdict after the plaintiff has presented all of his evidence to the court and jury hearing on the question whether the defendants were liable for the injuries sustained by plaintiff when a five gallon water bottle broke while being handled by plaintiff.
We have carefully considered the points on appeal in the light of the record, briefs and arguments of counsel and have concluded that no reversible error has been demonstrated. The plaintiff’s evidence as a whole with all reasonable inferences from it does not as a matter of law tend to prove the allegations of his complaint. The trial court was correct in granting the motion for directed verdict and in entering final judgment.
Affirmed.
